              Case 8:11-bk-05292-CPM        Doc 41    Filed 08/20/19     Page 1 of 3



                                         ORDERED.


         Dated: August 19, 2019




                         UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

In re:

EDWIN MARTINEZ,                                      Case No. 8:11-bk-05292-CPM
MIGDALIA MARTINEZ,                                   Chapter 7

          Debtors.
                                     /

             ORDER GRANTING MOTION FOR APPROVAL OF PROPOSED
          SETTLEMENT AND PAYMENT OF ATTORNEYS’ FEES AND EXPENSES
                               (Doc. No. 38)

          THIS CASE came on for consideration upon the Motion for Approval of Proposed

Settlement and Payment of Attorneys’ Fees and Expenses (the “Motion”) (Doc. No. 38), filed on

Jun3 26, 2019, by Beth Ann Scharrer, duly appointed Chapter 7 Trustee for the bankruptcy estate

of Edwin Martinez and Migdalia Martinez (the “Trustee”). The Motion was served upon all

interested parties and included the Local Rule 2002-4 negative notice legend informing the

parties of their opportunity to respond within twenty-one (21) days of service, plus an additional

three (3) days for service if any party was served by U.S Mail. No party filed a response within
            Case 8:11-bk-05292-CPM          Doc 41     Filed 08/20/19     Page 2 of 3



the time permitted and the Court deems the matter to be unopposed. The Court having reviewed

the Motion, the record, and being otherwise advised on the premises, it is

       ORDERED as follows:

       1.      The Motion is GRANTED.

       2.      The compromise as described in the Motion is hereby approved, and the parties

are authorized to consummate the settlement in accordance with the terms detailed therein.

       3.      The settlement as outline below has been considered and approved by the Court.

Attorneys’ fees and costs are subject to further application and order by the Court.

               Total Gross Settlement:                                  $17,352.69
                      Less: Common Benefit Fee (5%)                      ($867.63)
                      Less: Attorneys’ Fees
                             (45% of Gross Settlement)                  ($7,418.28)
                      Less: Lien Resolution Fee to GRG                    ($425.00)
                      Less: Case Specific Expenses to Special           ($3,435.10)
                              Counsel for the following:
                                          Mediconnect: $1,724.46
                                      Filing/Service Fee: $710.64
                               Expert Witness Review: $1,000.00
               Net To Estate:                                            $5,206.68

       4.      The Settlement Fund Administrator shall withhold and pay the Common Benefits

Fund, Lien Resolution Fee, and Medicare/Medicaid Liens, and send $16,060.06 to the Trustee.

       5.      Any and all release documentation required by the settlement (“the Release”) may

be executed, and the Release shall be valid and enforceable according to their terms and binding

upon the Debtors and their bankruptcy estate, and that no consent of the Trustee, or signature by

the Trustee on the Release, is necessary for the release documentation to be valid, binding and

enforceable and to constitute a full and complete release of any and all claims being released and

resolved by the release documentation.
           Case 8:11-bk-05292-CPM         Doc 41      Filed 08/20/19     Page 3 of 3



      6.     The Court shall retain jurisdiction to enforce the terms of this order.

                                             ****

Attorney Lori V. Vaughan is direct to serve a copy of this order on non-CM/ECF interested
parties and file a proof of service within 3 days of entry of this order.
